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 5                               IN THE UNITED STATES DISTRICT COURT

 6                                  EASTERN DISTRICT OF CALIFORNIA

 7
     UNITED STATES OF AMERICA,                           CASE NO. 1:13-CR-000218 AWI-BAM
 8
                                   Plaintiff,            ORDER CONTINUING HEARING ON
 9                                                       DEFENDANT’S MOTION TO SUPPRESS
                            v.
10                                                       DATE: November 3, 2014
     JOSE MARTINENZ GONZALEZ, ET. AL.,                   TIME: 10:00 a.m.
11                                                       COURT: Hon. Anthony W. Ishii
                                  Defendant.
12

13
            The United States of America, by and through BENJAMIN B. WAGNER, United States
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     Attorney, and KATHLEEN A. SERVATIUS, Assistant United States Attorneys, and the defendants Jose
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     Martinez-Gonzalez, et. al., by and through their attorneys of record, having stipulated to continue the
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     hearing on the defendants’ motion to suppress,
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            IT IS SO ORDERED.
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            IT IS FURTHER ORDERED that for the purpose of computing time under the Speedy Trial Act,
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     18 U.S.C. § 3161, et seq., within which trial must commence, the time period of November 3 to
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     November 17, 2014, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(1)(D).
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23 IT IS SO ORDERED.

24 Dated: October 21, 2014

25                                               SENIOR DISTRICT JUDGE

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      ORDER CONTINUING HEARING ON DEFENDANT’S            1
30    MOTION TO SUPPRESS
